                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  EL PASO DIVISION

 THE UNITED STATES OF                            §
 AMERICA, ex rel. ANGELA GOMEZ                   §
 and CHRISTOPHER HICKS,                          §
                                                 §
         Plaintiff,                              §
                                                 §
 v.                                              §    CAUSE NO. EP-20-CV-252-KC
                                                 §
 KOMAN CONSTRUCTION, LLC;                        §
 KOMAN ADVANTAGE, LLC;                           §
 KOMAN HOLDINGS, LLC;                            §
 NATIVES OF KODIAK, INC.;                        §
 STORMWATER PLANS, LLC d/b/a                     §
 SWP CONTRACTING & PAVING;                       §
 L&J CONTRACTORS, INC.; BFL                      §
 CONSTRUCTION CO., INC.;                         §
 HARRISON, WALKER AND                            §
 HARPER, LP; BOXX MODULAR,                       §
 INC.; and DONLEY                                §
 CONSTRUCTION, INC.,                             §
                                                 §
         Defendants.                             §

                                             ORDER

       On this day, the Court considered the United States’ Motion to Maintain Seal (“Motion”),

ECF No. 36. The Government has informed the Court that it will not intervene in the case at this

time. Notice 1, ECF No. 35. But the Government requests that the Court only unseal the

Complaint, ECF No. 1, the Notice of nonintervention, and this Order, keeping all other prior

filings in this case under seal. Id. at 2; see generally Mot. (making arguments in support). The

Government also asks that the Court order the parties to serve upon it “all pleadings filed in this

action” and any “notices of appeal,” in accordance with 31 U.S.C. § 3730(c)(3). Notice 2.

       The False Claims Act (“FCA”) is silent as to whether all documents submitted during the

seal period should be unsealed once the seal is lifted in a qui tam case. See 31 U.S.C.
§ 3730(b)(3) (stating only that the complaint shall be unsealed); see also United States ex rel.

Becker v. Tools & Metals, Inc., No. 05-CV-627, 2008 WL 3850522, at *2–3 (N.D. Tex. Aug. 19,

2008) (collecting cases); United States ex rel. Mikes v. Straus, 846 F. Supp. 21, 23 (S.D.N.Y.

1994) (“[Section 3730] evinces no specific intent to permit or deny disclosure of in camera

material as a case proceeds.”). Courts thus have “wide discretion . . . to determine what

documents, if any, should remain under seal.” Becker, 2008 WL 3850522, at *3.

          Here, the Government asks that all filings except for its Notice, the Complaint, and this

Order remain under seal. Notice 2. The Government argues this is necessary to maintain the

confidentiality of its investigative methods, Mot. 6–10, avoid jeopardizing its investigation into

Relators’ allegations, Mot. 10, and protect third parties from possible retaliation, Mot. 11.

Because the Government’s request is unopposed at this time and the Government has adequately

justified its request, the Motion is GRANTED.

          Accordingly, the Court ORDERS that the Relators’ Complaint, ECF No. 1, and the

Government’s Notice of nonintervention, ECF No. 35, be unsealed. All other prior filings in the

case shall remain under seal. The seal is lifted for this Order and all subsequent filings in this

matter.

          IT IS FURTHER ORDERED that Relators serve the Complaint and the Notice of

nonintervention on all Defendants and file proof of service pursuant to Federal Rule of Civil

Procedure 4(m). See 31 U.S.C. § 3730(b)(3).

          IT IS FURTHER ORDERED that the parties shall serve the Government with all

pleadings, motions, responsive briefings, and notices of appeal filed in this matter. See 31

U.S.C. § 3730(c)(3). The Government also may order deposition transcripts, at its own expense.



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      IT IS FURTHER ORDERED that any subsequent orders from the Court shall be

delivered to the Government’s counsel through CM/ECF.

      SO ORDERED.

      SIGNED this 15th day of January, 2024.




                                  KATHLEEN CARDONE
                                  UNITED STATES DISTRICT JUDGE




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